                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                        )
                                                )
             v.                                 )       1:17CR460-1
                                                )
PAULA KAY BULLOCK                               )

                                        ORDER

       This matter is before the Court on Defendants’ Motion to Extend Time to Report for

Active Sentence filed on behalf of Paula Kay Bullock, (ECF No. 70.)

      Based on representations to the Court and for good cause shown,

      IT IS ORDERED that the motion is GRANTED and the Defendant shall surrender

for service of sentence at the institution designated by the Bureau of Prisons on or before

October 16, 2019.

      This, the 11th day of September 2019.


                                         /s/ Loretta C. Biggs
                                         United States District Judge




         Case 1:17-cr-00460-LCB Document 73 Filed 09/11/19 Page 1 of 1
